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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Aruze Gaming America, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6900 S. Decatur Blvd., Ste. 100
                                  Las Vegas, NV 89118
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://aruzegaming.com/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Aruze Gaming America, Inc.                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Aruze Gaming America, Inc.                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Aruze Gaming America, Inc.                                                    Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50   million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million            More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Aruze Gaming America, Inc.                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 1, 2023
                                                  MM / DD / YYYY


                             X   /s/ Yugo Kinoshita                                                       Yugo Kinoshita
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Matthew C. Zirzow                                                     Date February 1, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew C. Zirzow 7222
                                 Printed name

                                 Larson & Zirzow, LLC
                                 Firm name

                                 850 E. Bonneville Ave.
                                 Las Vegas, NV 89101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     702-382-1170                  Email address      mzirzow@lzlawnv.com

                                 7222 NV
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Aruze Gaming America, Inc.

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 1, 2023                X /s/ Yugo Kinoshita
                                                           Signature of individual signing on behalf of debtor

                                                            Yugo Kinoshita
                                                            Printed name

                                                            Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name Aruze Gaming America, Inc.
United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                              Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Bartlit Beck LLP                                    Judgment in the       Contingent                                                                      $27,365,120.00
c/o Kemp Jones LLP                                  favor of Bartlit Beck Unliquidated
Attn: J. Randall                                    LLC                   Disputed
Jones, Esq.
3800 Howard Hughes
Parkway, 17th Flr.
Las Vegas, NV 89169
PDS Gaming -                                        Machines and                                       $1,600,171.17                         $0.00          $1,600,171.17
Nevada, Inc.                                        equipment
Attn: Peter Cleary,                                 purchased
COO
871 Grier Drive, Ste.
B1
Las Vegas, NV 89119
Gaming Laboratories                                                                                                                                           $946,922.05
International
Attn: Managing
Member
PO Box 783151
Philadelphia, PA
19178-3151
Holland & Hart, LLP                                 Services                                                                                                  $685,560.72
Attn: Managing
Member
555 17th Street, Ste.
3200
Denver, CO 80202
Klarquist Sparkman,                                 Services                                                                                                  $392,020.69
LLP
Attn: Managing
Member
121 SW Salmon St.,
Ste. 1600
Portland, OR 97204




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Aruze Gaming America, Inc.                                                               Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Aon Risk Insurance                                  Insurance                                                                                                 $313,246.47
Services West, Inc.
Attn: Managing
Member
P.O. Box 849832
Los Angeles, CA
90084
Ingenuity Gaming                                    iGaming                                                                                                   $215,400.00
Software Limited
Attn: Managing
Member
2nd Flr., St. Mary's
Court
20 Hill Street,
Douglas
IM1 IEU Isle of Man
RSM US LLP                                          Services                                                                                                  $202,106.66
Attn: Managing
Member
10845 Griffith Peak
Dr., Ste. 450
Las Vegas, NV 89135
Beltway Business                                    Rent                                                                                                      $103,309.93
Park Warehouse
No.9, LL
c/o Majestic Beltway
Whse Buildings II
Attn: Rodman Martin,
Resident Agent
4050 W. Sunset Rd.,
Ste. H
Las Vegas, NV 89118
TransAct                                            Inventory - Parts                                                                                           $84,200.00
Technologies
Incorporated
Attn: Managing
Member
6700 Paradise Rd.
Las Vegas, NV 89119
EIP US LLP                                          Services                                                                                                    $78,824.09
Attn: Managing
Member
DTC Quadrant /
Penthouse 4
Greenwood Village,
CO 80111
JCM American                                        Inventory - Parts                                                                                           $75,266.52
Corporation
Attn: Managing
Member
P.O. Box 511600
Los Angeles, CA
90051-8155

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Aruze Gaming America, Inc.                                                               Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
PDS Gaming                                          Inventory - FG                                                                                              $55,777.58
Corporation                                         Machines
Attn: Managing
Member
871 Grier Dr., Ste. B1
Las Vegas, NV 89119
Epiq Systems Godo                                   Services                                                                                                    $54,867.61
Kaisha
Attn: Managing
Member
11-5 NIbancho, 5th
Floor
Tokyo
Continent 8 LLC                                     iGaming                                                                                                     $43,623.96
Attn: Managing
Member
4900 N. Ocean Blvd.,
Ste. 319
Lauderdale by the
Sea, FL 33308-2937
Ayano Hara                                          Services                                                                                                    $37,219.19
Nishimura
Attn: Managing
Member
98-351 Koauka Loop,
C-603
Veritext LLC                                        Services                                                                                                    $36,832.08
Attn: Managing
Member
260 W. Mt. Pleasant
Ave.
Livingston, NJ 07039
Derse, Inc.                                         Rent                                                                                                        $34,256.94
Attn: Managing
Member
3800 West Canal
Street
Milwaukee, WI 53208
Sugimura &                                          Services                                                                                                    $33,492.00
Partners/Koji
Attn: Managing
Member
Primary Common
Gate W. Tower
36th Flr
Kaskumigaseki 3-2-1
Chiyda-ku, Tokyo
100-0013




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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Debtor     Aruze Gaming America, Inc.                                                               Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Katz & Katz, LLC                                    Rent                                                                                                        $30,849.32
Attn: Brian Katz,
Resident Agent
9237 White Tail Dr.
Las Vegas, NV 89134




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4
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                                                United States Bankruptcy Court
                                                           District of Nevada
 In re   Aruze Gaming America, Inc.                                                              Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:     February 1, 2023                              /s/ Yugo Kinoshita
                                                        Yugo Kinoshita/Chief Executive Officer
                                                        Signer/Title
                   CaseInc.
Aruze Gaming America,     23-10356-abl Internal
                                        Doc 1 Revenue
                                                  EnteredService
                                                           02/01/23 07:03:31     Page County
                                                                                 Clark 17 of 20Treasurer
6900 S. Decatur Blvd., Ste. 100        Attn: Bankruptcy Dept/Managing Agent      c/o Bankruptcy Clerk
Las Vegas, NV 89118                    P.O. Box 7346                             500 S. Grand Central Pkwy
                                       Philadelphia, PA 19101                    P.O. Box 551220
       x
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                                                                                 Las Vegas, NV 89155

Clark County Assessor                    Dept. of Empl, Training & Rehab         Nevada Dept. of Taxation
c/o Bankruptcy Clerk                     Employment Security Division            Bankruptcy Section
500 S. Grand Central Pkwy                500 East Third Street                   555 E. Washington Avenue #1300
Box 551401                               Carson City, NV 89713                   Las Vegas, NV 89101
Las Vegas, NV 89155

Social Security Administration           AML Auto & Truck SVC LLC                Aon Risk Insurance Services West,In
Office of the Regional Chief Counsel     Attn: Managing Member                   Attn: Managing Member
Region IX                                4445 W Reno Avenue                      P.O. Box 849832
160 Spear Street, Ste. 800               Las Vegas, NV 89118                     Los Angeles, CA 90084
San Francisco, CA 94105-1545

Ayano Hara Nishimura                     Bartlit Beck LLP                        Beltway Business Park Warehouse N  9
Attn: Managing Member                    c/o Kemp Jones LLP                      c/o Majestic Beltway Whse BuildingsII
98-351 Koauka Loop, C-603                Attn: J. Randall Jones, Esq.            Attn: Rodman Martin, Resident Agen
                                         3800 Howard Hughes Parkway, 17th Flr.   4050 W. Sunset Rd., Ste. H
                                         Las Vegas, NV 89169                     Las Vegas, NV 89118

Beltway Business Park Warehouse No.9,    LL
                                          BKM Fund II REIT, LLC                  Brownstein Hyatt Farber Schreck, L
c/o Majestic Beltway Whse Buildings II    Attn: Managing Member                  Attn: Managing Member
Attn: Rodman Martin, Resident Agent       1701 Quail Street, Suite 100           Attn: Mainaging Director
4050 W. Sunset Rd., Ste. H                Los Angeles, CA 92660                  410 Seventeenth Street
Las Vegas, NV 89118                                                              Denver, CO 80202-4432

Casino Connection International LLC      CDC Gaming Reports Inc.                 Cintas Corportion
Attn: Managing Member                    Attn: Managing Member                   Attn: Managing Member
1000 Nevada Way                          13825 Lakewood Heights Blvd             P.O. BOX 29059
Boulder City, NV 89005                   Cleveland, OH 44107                     Phoenix, AZ 85043


Continent 8 LLC                          Cooper Levenson Attorneys at Law        Corporation Service Company
Attn: Managing Member                    Attn: Managing Member                   Attn: Managing Member
4900 N. Ocean Blvd., Ste. 319            1125 Atlantic Ave                       PO BOX 7410023
Lauderdale by the Sea, FL 33308-2937     Atlantic City, NJ 08401                 Chicago, IL 60674


Credit Management Association            Derse, Inc.                             DHL Express USA Inc.
Attn: Managing Member                    Attn: Managing Member                   Attn: Managing Member
111 North Maryland Ave., Suite 300       3800 West Canal Street                  16592 Collections Center Dr.
Glendale, CA 91206                       Milwaukee, WI 53208                     Pasadena, IL 60693


EIP US LLP                               Enterprise Rent-A-Car                   Epiq Systems Godo Kaisha
Attn: Managing Member                    Attn: Managing Member                   Attn: Managing Member
DTC Quadrant / Penthouse 4               PO Box 840173                           11-5 NIbancho, 5th Floor
Greenwood Village, CO 80111              Kansas City, MO 64184-0173              Tokyo


FedEx Express Corporation                FedEx Freight                           Fincore Limited
P.O. Box 7221                            Attn: Managing Member                   Attn: Managing Member
                                         Dept LA P.O. Box 21415                  47 Mark Lane
                                         Pasadena, CA 91185-1415                 London EC3R 7QQ
First Savings Bank Case 23-10356-abl     Doc 1 Laboratories
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                                                                                          Transportation Inc.
Attn: Morgan Larson, President/CEO      Attn: Managing Member                      Attn: Managing Member
201 N. 3rd Street                       PO Box 783151                              19550 S. Dominguez Hills Dr.
P.O. Box 431                            Philadelphia, PA 19178-3151                Pasadena, CA 90220
Beresford, SD 57004

Holland & Hart, LLP                     iGaming Tracker Limited                    Ingenuity Gaming Software Limited
Attn: Managing Member                   Attn: Managing Member                      Attn: Managing Member
555 17th Street, Ste. 3200                                                         2nd Flr., St. Mary's Court
Denver, CO 80202                                                                   20 Hill Street, Douglas
                                                                                   IM1 IEU Isle of Man

JCM American Corporation                Katz & Katz LLC                            Katz & Katz LLC
Attn: Managing Member                   and Brian R. Katz 1999 Trust               c/o David Fu, Esq.
P.O. Box 511600                         9237 White Tail Dr.                        David Fu and Associates
Los Angeles, CA 90051-8155              Las Vegas, NV 89134                        444 E. Huntington Dr., Ste. 205
                                                                                   Arcadia, CA 91006

Katz & Katz, LLC                        Klarquist Sparkman, LLP                    Landstar Ranger
Attn: Brian Katz, Resident Agent        Attn: Managing Member                      Attn: Mark Hendricks
9237 White Tail Dr.                     121 SW Salmon St., Ste. 1600               P.O. Box 784293
Las Vegas, NV 89134                     Portland, OR 97204                         Los Angeles, CA


Littler Mendelson                       M & H Pallets, LLC.                        Mack Pest Control LLC
Attn: Managing Member                   Attn: Managing Member                      Attn: Managing Member
2001 Ross Avenue, Ste. 1500             4073 Las Vegas Blvd. North                 10240 Danskin Dr.
Lock Box 116                            Las Vegas, NV 89115                        Las Vegas, NV 89166
Dallas, TX 75201

Masuda, Funai, Eifert & Mitchell, Ltd   Mississippi Gaming Commission              National Servicing and Administratio
Attn: Managing Member                   Attn: Managing Member                      Attn: Seth N. Kahn, Chief Manager
203 N. Lasalle Street, Suite 2500       620 North Street, Ste. 200                 150 S. Fifth Street, Ste. 3300
Chicago, IL 60601                       Jackson, MS 39202                          Minneapolis, MN 55402


NextStep Gaming, LLC                    NortonLifeLock Inc.                        Novalink International LLC
Attn: Bankruptcy Dept/Managing Agent    Attn: Managing Member                      Attn: Managing Member
2293 Feathertree Ave.                   60 E.RIO SALADO PKWY, SUITE 1000           4040 Pioneer Avenue
Henderson, NV 89052                     Tempe, AZ 85281                            Las Vegas, NV 89102


NV Energy                               NVRH LLC                                   Occupational Health Centers of SWP
Attn: Managing Member                   Attn: Managing Member                      Attn: Managing Member
PO Box 30086                            655 W. Sunset Rd.                          7401 Church Ranch Blvd.
Reno, NV 89520                          Henderson, NV 89011                        Broomfield, CO 80021


Parchevalier Trading Services LLC.      PDS Gaming - Nevada, Inc.                  PDS Gaming Corporation
Attn: Managing Member                   Attn: Peter Cleary, COO                    Attn: Managing Member
2223 Constitution Dr.                   871 Grier Drive, Ste. B1                   871 Grier Dr., Ste. B1
San Jose, CA 95124                      Las Vegas, NV 89119                        Las Vegas, NV 89119


Pilot Freight Services                  Players Publishing Limited                 Powder Coating Plus, Inc.
Attn: Managing Member                   Attn: Managing Member                      Attn: Managing Member
P.O. Box 654058                         51 Scrutton Street                         5325 S. Valley View Blvd., Ste #107
Dallas, TX 75265                        London EC2A 4PJ                            Las Vegas, NV 89118
Ramsey & Son, IncCase 23-10356-abl        Doc 1 North
                                         Randstad  Entered  02/01/23
                                                          America, Inc 07:03:31   Page 19 of Inc.
                                                                                  RapidScale,   20
Attn: Managing Member                    Attn: Managing Member                    Attn: Managing Member
3292 E. Sunset Rd. Ste 130               150 Presidential Way, 4th Floor          17872 Gillette Ave. 450
Las Vegas, NV 89120                      Woburn, MA 01801                         Irvine, CA 92614


Ready Cleaning Services                  Republic Services Inc.                   Revenu Quebec
Attn: Managing Member                    Attn: Managing Member                    Attn: Managing Member
1023 Benton Avenue                       777 E. Sahara Ave.
Henderson, NV 89015


Robert Half International Inc.           RSM US LLP                               Ruby Seven Studios, Inc.
Attn: Managing Member                    Attn: Managing Member                    Attn: Managing Member
3993 Howard Hughes Pkwy., Ste. 300       10845 Griffith Peak Dr., Ste. 450        275 Hill Street STE 230
Las Vegas, NV 89169                      Las Vegas, NV 89135                      Reno, NV 89501


Sant Made                                Santamarina y Steta, S.C.                Sky High Marketing Inc.
Attn: Managing Member                    Attn: Managing Member                    Attn: Managing Member
PO BOX 1430                              CDMX-TORRE OMEGA                         259 W. Broadway
Drippings Springs, TX                                                             Waukesha, WI 53186


Slotcycle, LLC                           Slotcycle, LLC                           Smartsheet Inc.
Attn: R. Jeff Jordan, Managing Member    Attn: R. Jeff Jordan, Resident Agent     Attn: Managing Member
745 Grier Dr.                            4354 Tall Tree St.                       500 108th Ave. NE, #200
Las Vegas, NV 89119                      Las Vegas, NV 89147                      Bellevue, WA 98004


Snell & Wilmer LLP                       Stericycle, Inc/Shred-it                 Sugimura & Partners/Koji
Attn: Managing Member                    Attn: Managing Member                    Attn: Managing Member
2501 N. Harwood St., Ste. 1850           28883 Network Place                      Primary Common Gate W. Tower
Dallas, TX 75201                         Chicago, IL 60673                        36th Flr Kaskumigaseki 3-2-1
                                                                                  Chiyda-ku, Tokyo 100-0013

Suzo-Happ Gaming Solutions, Inc          Tahoco Logistics, Inc                    Talent Wise
Attn: Managing Member                    Attn: Managing Member                    Attn: Managing Member
601 Dempster Street                      6299 Airport Rd                          One State Street 24th Floor
Mount Prospect, IL 60056                 Mississauga ON L4V 1E4                   New York, NY 10004
                                         Canada

Thompson, Ahern & Co., Ltd.              TransAct Technologies Incorporated       TransPerfect Global, Inc
Attn: Managing Member                    Attn: Managing Member                    Attn: Managing Member
6299 Airport Rd                          6700 Paradise Rd.                        3 Park Avenue 39th Flr.
Mississauga ON L4V 1E4                   Las Vegas, NV 89119                      New York, NY 10016
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UHY Consulting, Inc.                     Uline                                    Universal Entertainment Corp.
Attn: Managing Member                    Attn: Managing Member                    c/o Evans Fears & Schuttert LLP
980 Hammond Dr. NE                       12575 Uline Dr.                          Attn: Jay J. Schuttert, Esq.
Atlanta, GA 30328                        Pleasant Prairie, WI 53158               6720 Via Aust Parkway, Ste. 300
                                                                                  Las Vegas, NV 89119

Universal Entertainment Corp.            US Bank Equipment Finance                Veritext LLC
c/o Fujimoto, Jun                        Attn: Managing Member                    Attn: Managing Member
Ariake Frontier Building A               1310 Madrid St. STE 101                  260 W. Mt. Pleasant Ave.
3-7-26 Ariake, Koto-ku, Tokyo 135-0063   Marshall, MN 56258                       Livingston, NJ 07039
Yoohey S.A.C.      Case 23-10356-abl     Doc 1 Nakagawa
                                        Yumiko     Entered 02/01/23      07:03:31   Page 20Business
                                                                                    Beltway     of 20 Park Warehouse N 9
Attn: Managing Member                   Attn: Managing Member                       c/o Majestic Beltway Whse BuildingsII
Calle Alcanfores 427, dep.301B          2333 Kapiolani Blvd #2612                   Attn: Edward P. Rosky, Jr., Manag
Lima, Peru                              Honolulu, HI 96826                          13191 Crossroads Pkwy North, 6th Fl
                                                                                    City of Industry, CA 91746

Beltway Business Park Warehouse No. 9 Beltway Business Park Warehouse No. 9 Beltway Business Park Warehouse N9
c/o Thomas & Mack Beltway LLC         c/o Majestic Realty Co.               c/o Majestic Realty Co.
Attn: Peter Thomas, Manager           4050 W. Sunset Rd., Ste. H            Attn: Property Management
2300 W. Sahara Ave., Ste. 530         Las Vegas, NV 89119                   13191 Crossroads Parkway North, 6Fl
Las Vegas, NV 89102                                                         City of Industry, CA 91746

Buckely LLP                             First Savings Bank                          Northland Networks, Inc.
David S. Krakoff, Esq.                  c/o Best & Flanagan LLP                     Attn: Seth N. Kahn, Managing Direc
2001 M. Street NW, Ste. 500             Attn: Michael T. Hatting, Esq.              150 S. Fifth Street, Ste. 3300
Washington, DC 20036                    60 S. Sixth Street, Ste. 2700               Minneapolis, MN 55402
                                        Minneapolis, MN 55402

Northland Trust Services, Inc.          Stinson LLP                                 Williams & Connolly LLP
Attn: Seth N. Kahn, Managing Director   Attn: Michael T. Hatting, Esq.              Attn: Bruce R. Genderson, Esq.
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